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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 20-23564-Civ-COOKE/GOODMAN

   DAVID WILLIAMS, et al.,

           Plaintiffs,

   vs.

   RECKITT BENCKISER LLC, and
   RB HEALTH (US) LLC,

         Defendants.
   ____________________________________/
         ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION
           THIS MATTER is before me upon the Report and Recommendation (“R&R”) of the
   Honorable Jonathan Goodman, U.S. Magistrate Judge (ECF No. 133), on Plaintiffs’ motion
   for final approval of a class settlement (ECF No. 69).
           In his thorough and well-reasoned R&R, Judge Goodman recommends that this Court
   approve the proposed national class settlement and grant Plaintiffs’ motion. Theodore Frank
   filed objections to the R&R, and Plaintiffs and Defendants filed responses to the objections.
           The Court has considered Judge Goodman’s Order, Theodore Frank’s objections
   thereto, and conducted a de novo review—even though Defendants are of the opinion that a
   de novo review is unwarranted. Upon review, Judge Goodman’s R&R is AFFIRMED and
   ADOPTED as the Order of this Court. The motion for final approval of settlement is
   GRANTED in the manner set forth in the R&R.
           DONE and ORDERED in Chambers, in Miami, Florida, this 16th day of March
   2022.




   Copies furnished to:
   Counsel of Record
